IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

TROY McCOY, individually and on
behalf of all others similarly situated, Case No. l:l7-cv-OO346-CCE-LPA
Plaintiff,
v.
MOTION FOR
NORTH STATE AVIATION, LLC, EXTENSION OF TIME

 

NORTH STATE AVIATION
HOLDINGS, LLC, and NSA
HOLDINGS, INC., (f/l</a NSA
HOLDINGS, LLC),

Defendants.

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Defendant, North State Aviation Holdings, LLC, by and through its undersigned
counsel, pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, and With the
consent of plaintiff s counsel, respectfully moves the Court for an Order extending the
time within Which it may answer, cross-claim, make any motions directed to the First and
Second Amended Class Action Complaint, or otherwise respond to Plaintiff’ s First and
Second Amended Class Action Complaint. In support of said Motion, the undersigned
submits unto the Court as follows:

l. This action is brought by Plaintiff, Troy McCoy, individually and on behalf

of all others similarly situated against defendant North State Aviation Holdings, LLC and

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other defendants seeking relief under the federal Work Adjustment and Retraining
Notification Act (the “WARN Act”), codified at 29, U.S.C. §ZlOl et seq.

2. Plaintiff s original Complaint did not name North State Aviation Holdings,
LLC as a defendant

3. Plaintiff’s First Amended Complaint was served on North State Aviation
Holdings, LLC on June 12, 2017; and a responsive pleading would be due on July 3, 2017.

4. Plaintiff filed a Second Amended Complaint on or about June 16, 2017, and
North State Aviation Holdings, LLC was served on June l9, 2017. A responsive pleading
would be due on or about July lO, 2017.

5. North State Aviation Holdings, LLC requires additional time in which to
answer, cross-claim, make any motions directed to the First and Second Amended Class
Action Complaint, or otherwise respond to Plaintiff s First and Second Amended Class
Action Complaint.

4. Pursuant to the Middle District of North Carolina Local Rules of Civil
Procedure 6.l(a), the defendant North State Aviation Holdings, LLC has consulted with
Plaintiff’ s counsel, Jean Martin, regarding its Motion for Extension of Time; and Plaintiffs
counsel consents to said Motion.

5. Therefore, defendant North State Aviation Holdings, LLC, through its
undersigned counsel, hereby moves the Court for a thirty (3 O) day extension of time through
and including August 2, 2017, in which to answer, cross-claim, make any motions directed
to the First and Second Amended Class Action Complaint, or otherwise respond to

Plaintiff’s First and Second Amended Class Action Complaint.

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This extension request is not for the purpose of delay but rather to afford North State
Aviation Holdings, LLC additional time so that it may satisfactorily respond to Plaintiff’s
First and Second Amended Class Action Complaint and address certain matters raised by
Plaintiff with respect to his claim.

Dated: June 22, 2017
Respectfully submitted,

/s/ Joseph T. Carruthers

JOSEPH T. CARRUTHERS

NC Bar No. 7649

/s/ Lee D. Denton

Lee D. Denton

NC Bar No. 47695

WALL BABCOCK LLP

1076 West Fourth Street
Winston-Salem, NC 27lOl
Telephone No.: (336) 714-1221
Telecopy No.: (336) 722-1993
E-Mail: @rruthers@wallbabcock.com and
ldenton@wallbabcock.com
Attorneysfor Defena'ant

North State Aviation Holdings, LLC

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CERTIFICATE OF SERVICE
I, Joseph T. Carruthers, hereby certify that on the ZZSt day of June, 2017, l
electronically filed the foregoing document with the Clerk of Court using the CM/ECF

system which will send notification of such filing to the following:

Jean Sutton Martin, Esq.
iean@ismlawoffice.com

Joseph G. Sauder, Esq.
i gs@mccunewright.com

Matthew D. Schelkopf, Esq.
mds@mccunewright.com

D.J. O’Brien III, Esq.
dobrien@brookspierce.com

Matthew Tynan, Esq.
mtvnan@brookspierce.com

/s/ Joseph T. Carruthers

JOSEPH T. CARRUTHERS

NC Bar No. 7649

WALL BABCOCK LLP

1076 West Fourth Street
Winston-Salem, NC 27101

Telephone No.: (336) 714-1221
Telecopy No.: (336) 722-1993

E-Mail: `Lcarruthers@wallbabcock.com

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